Case:20-12377-MER Doc#:671-5 Filed:11/18/20                            Entered:11/18/20 18:36:15 Page1 of 3




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

      IN RE:                             )
                                         )
   SKLAR EXPLORATION COMPANY, LLC ) Case No. 20-12377-EEB
   EIN: XX-XXXXXXX                       )
                                         ) Chapter 11
             Debtor-in-Possession.       )
                                         )
                                         )
   IN RE:                                )
                                         )
   SKLARCO, LLC                          ) Case No. 20-12380-EEB
   EIN: XX-XXXXXXX                       )
                                         ) Chapter 11
                                         )
                                         )
             Debtor-in-Possession.       )
                                         )
  __________________________________________________________________________

     PROPOSED ORDER GRANTING THE AD HOC COMMITTEE OF WORKING
    INTEREST OWNERS’ MOTION TO MODIFY THE AUTOMATIC STAY TO: (A)
  HOLD A MEETING OF THE WORKING INTEREST OWNERS IN THE BROOKLYN
      OIL UNITS; AND (B) TAKE A CONTRACTUALLY AUTHORIZED VOTE TO
            REMOVE DEBTOR SKLAR EXPLORATION COMPANY, LLC,
                  AS OPERATOR OF THE BROOKLYN OIL UNITS
  _____________________________________________________________________________
             This matter having come before the Court upon the Ad Hoc Committee of Working Interest

  Owners of Debtor Sklar Exploration Company, LLC (the “Ad Hoc Committee”), for their Motion

  to Modify the Automatic Stay to: (A) Hold a Meeting of the Working Interest Owners in the

  Brooklyn Oil Units; and (B) Take a Contractually Authorized Vote to Remove Debtor Sklar

  Exploration Company, LLC, as Operator of the Brooklyn Oil Units (the “Motion”);1 the Court

  having jurisdiction to consider the Motion; and upon consideration of the Motion; and due and




  1
      Capitalized terms not expressly defined herein shall have the meanings ascribed to them in the Motion.

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  4813-4165-6529.2
Case:20-12377-MER Doc#:671-5 Filed:11/18/20                    Entered:11/18/20 18:36:15 Page2 of 3




  appropriate notice having been given and no further notice being needed; and upon the proceedings

  before the Court; and good and sufficient cause having been shown;

          THE COURT FINDS:

          1.         “Cause” exists in order to permit the Working Interest Owners in the Brooklyn Oil

  Units to hold a meeting in accordance with the applicable provisions of the Brooklyn Agreements;

  and

          2.         “Cause” further exists in order to authorize the Working Interest Owners to take a

  vote to remove SEC as Unit Operator in accordance with the applicable provisions of the Brooklyn

  Agreements;

          ACCORDINGLY, it is hereby ORDERED THAT:

          3.         The Motion is granted; the Working Interest Owners under the Brooklyn

  Agreements are authorized to exercise their rights under such agreements and applicable non-

  bankruptcy law with respect to seeking and, as applicable, enforcing a change in Unit Operator.

          4.         The Working Interest Owners are further authorized to take all steps necessary to

  effectuate the removal of SEC as the Unit Operator of the Brooklyn Oil Units, in accordance with

  the terms of the Brooklyn Agreements, including, but not limited to, the obtaining of approval of

  such removal from the AOGB and that SEC cooperate in good faith with the Working Interest

  Owners with the removal.

          5.         This Order shall be effective and enforceable immediately upon entry and the stay

  provided in Rule 4001(a)(3) is hereby waived; and

          6.         This Court retains jurisdiction with respect to any matters or disputes arising from

  or related to the implementation of this Order.




                                                      2
  4813-4165-6529.2
Case:20-12377-MER Doc#:671-5 Filed:11/18/20   Entered:11/18/20 18:36:15 Page3 of 3




  DATED: November __, 2020



                                    Honorable Elizabeth E. Brown
                                    United States Bankruptcy Judge




                                      3
  4813-4165-6529.2
